                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION


IN RE:                                          )
                                                )       Case No. 18-82014-CRJ-11
FAIRMONT PARTNERS LLC,                          )
                                                )
               Debtor.                          )


       RESPONSE IN OPPOSITION TO SALE AND MOTION TO RECONSIDER
          AND VACATE ORDER GRANTING DEBTOR’S SALE MOTION


       Edwin W. Leslie (the “Receiver”), as court-appointed receiver over the property of 2945

Northwest, LLC (the “Oklahoma Affiliate”), and iBorrow Finance Loan Fund I, L.P. (“iBorrow,”

and together with the Oklahoma Affiliate, the “Objecting Parties”) hereby respectfully file this

Response in Opposition to Sale and Motion to Reconsider and Vacate Order Granting Debtor’s

Sale Motion (this “Response and Motion to Reconsider”). In support hereof, the Objecting

Parties state as follows:

                                        INTRODUCTION

       1.      This cause comes before the Court on the motion of Fairmont Partners, LLC, the

debtor and debtor-in-possession in the above-styled case (the “Debtor”), to approve a transfer of

all of the Debtor’s assets to its principal secured creditor Access Point Financial, Inc. (“Access”).

The Objecting Parties object to the proposed sale because (1) the Debtor failed to give the

Receiver due notice of the proposed sale, even though the Oklahoma Affiliate is a substantial and

known creditor of the debtor and entitled to receive timely notice, and (2) upon information and

belief, certain of the assets that the Debtor purports to sell may not be property of the Debtor’s

bankruptcy estate, but rather property of the Oklahoma Affiliate’s receivership estate in which

iBorrow asserts security interests. The Objecting Parties respectfully ask this Court to postpone


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or vacate the entry of any sale order to allow the Receiver to perform his fiduciary duty to and

protect the interests of the receivership estate.

                                             BACKGROUND

                                 The Oklahoma Hotel and Receivership

        2.        On or about March 15, 2017, iBorrow loaned the principal amount of $12 million

to the Oklahoma Affiliate, pursuant to a Promissory Note (the “Note”). The Note was secured

by a mortgage and security agreement covering virtually all property of the Oklahoma Affiliate

related to a 218-room Wyndham hotel located in Oklahoma City, Oklahoma (the “OKC Hotel”),

including, but not limited to, real property, improvements, rents and revenues, leases, furniture,

and fixtures (collectively, the “Collateral”).

        3.        These loan documents were signed by Tracy Suttles, the sole member of the

Oklahoma Affiliate. Mr. Suttles was also the previous manager of the Debtor. According to the

Debtor’s Statement of Financial Affairs, Tracey Suttles currently owns 93% of the Debtor. [See

Doc. 60, p. 7.]

        4.        On or about May 30, 2017, the Oklahoma Affiliate entered into a promissory note

in favor of Access, evidencing a loan in the principal amount of $2.8 million for the purpose of

remodeling the OKC Hotel (the “Access OKC Loan”). The Oklahoma Affiliate granted Access

a security interest in its furniture, fixtures and equipment, including approximately $5.5 million

in new furniture, fixtures, and equipment that the Oklahoma Affiliate was to purchase to put into

the OKC Hotel. 1

        5.        In reliance on the representations of Access and the Oklahoma Affiliate that the

Oklahoma Affiliate would purchase approximately $5.5 million in new assets to place into the

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 A list of the furniture, fixtures, and equipment that was purportedly being purchased and installed in the OKC
Hotel is attached hereto as Exhibit A.




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OKC Hotel, iBorrow entered into an Intercreditor Agreement with Access and the Oklahoma

Affiliate, which provided for iBorrow to subordinate its priority position to any security interest

held by Access in new furniture, fixtures, and equipment purchased with the Access OKC Loan.

           6.       The Oklahoma Affiliate defaulted under the Note by failing to pay the full

amounts owed at maturity, failing to pay applicable taxes, allowing mechanic’s and

materialman’s liens to be placed on the OKC Hotel, and failing to satisfy the obligations under

the hotel franchise agreement with Wyndham.

           7.       In October 2018, iBorrow began the procedure for foreclosing its mortgage

through non-judicial means pursuant to Oklahoma law. Concurrently therewith, on October 29,

2018, iBorrow commenced a suit in the District Court of Oklahoma County, Oklahoma, seeking

the appointment of a receiver over its Collateral. 2

           8.       Notice of the District Court Case was served on the Oklahoma Affiliate by

certified mail. 3

           9.       On October 29, 2018, the court in the Oklahoma Receivership Case entered its

Order Appointing Receiver, appointing the Receiver as the receiver over, among other things, the

OKC Hotel and the Collateral.

           10.      After his appointment, the Receiver took control of the OKC Hotel and

discovered that the furniture, fixtures, and equipment that were purportedly being purchased by

the Oklahoma Affiliate with funds from the OKC Access Loan had not been delivered to or

placed in the OKC Hotel. The Receiver requested documents concerning the missing furniture,



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 This action is styled iBorrow Finance Loan Fund I, L.P. v. 2945 Northwest, LLC, Case No. CJ-2018-5921 (District
Court of Oklahoma County, Oklahoma) (the “Oklahoma Receivership Case”).

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    A true and correct copy of the Return of Service is attached hereto as Exhibit B.




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fixtures and equipment from Access and the Oklahoma Affiliate, but, to date, neither have

provided such information.

          11.   The Receiver also discovered that prior to the filing of the Oklahoma

Receivership Case, the Oklahoma Affiliate made numerous transfers of substantial funds to the

Debtor for little to no consideration. Specifically, the Receiver discovered at least $367,000.00

of wire transfers from the Oklahoma Affiliate to the Debtor in 2017 and 2018. As of the date of

this filing, the Receiver has been unable to account for these transfers in the Oklahoma

Affiliate’s corporate records.

          12.   As of the date of this filing, the Receiver has diligently sought information

regarding the furniture, fixtures, and equipment, the unexplained transfers from the Oklahoma

Affiliate to the Debtor, and the shared ownership and relationship between the two entities.

However, such efforts have been rebuffed by the Debtor, the Oklahoma Affiliate, and Tracey

Suttles, among others. At this time, the Objecting Parties reasonably believe that proceeds from

the Access OKC Loan, the intracompany transfers from the Oklahoma Affiliate to the Debtor,

and other unidentified transactions were or may have been used to fund the purchase of furniture,

fixtures, and equipment at the AL Hotel (as defined herein) to the detriment of the Oklahoma

Affiliate’s receivership estate.

                                   The Debtor’s Bankruptcy Case

          13.   On or about December, 2018, the Receiver learned that the Debtor filed a

voluntary petition under Chapter 11 of the Bankruptcy Code on July 10, 2018 (the “Petition

Date”).

          14.   The Debtor owns and operates a hotel in Sheffield, Alabama (the “AL Hotel”).

Access provided financing to the Debtor, purportedly secured by all of the Debtor’s real and

personal property at the AL Hotel.

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         15.   The Debtor filed its (i) Motion to Sell Property Free and Clear of Liens under

Section 363(f) [Doc. 97] on September 13, 2018, (ii) Amended Motion to Sell Property Free and

Clear of Liens under Section 363(f) [Doc. 105] on October 19, 2018, and (iii) Amended Motion

to Sell Property Free and Clear of Liens under Section 363(f) [Doc. 114] on November 5, 2018

(as amended, the “Sale Motion”) seeking to sell substantially all of its assets, including the

furniture, fixtures, and equipment in the AL Hotel.

         16.   On November 7, 2018, this Court entered the Order (A) Authorizing and

Scheduling an Auction and (B) Approving Bid Procedures Governing the Proposed Sale and

Directing Attorney to Serve the Order [Doc. 115] (the “Bid Procedures Order”).

         17.   Pursuant to the Bid Procedures Order, the Court set a sale objection deadline and

scheduled a Sale Hearing on December 10, 2018. [See Doc. 115.]

         18.   The Debtor did not provide either the Receiver, iBorrow, or the Oklahoma

Affiliate with notice of the Sale Motion, the Bid Procedures Order, the Objection Deadline, the

Sale Hearing, or, more generally, this bankruptcy case.

         19.   In light of the significant transfers discovered by the Receiver from the Oklahoma

Affiliate to the Debtor, and the involvement of Tracy Suttles in both matters, the Objecting

Parties are extremely concerned that the Debtor may attempt to sell property of the receivership

estate pursuant to the Sale Motion.

         20.   Upon information and belief, the Court held the Sale Hearing on December 10,

2018, unaware that the Debtor had not given due notice of the Sale Motion. As of the date

hereof, the status of the Sale Motion is not readily ascertainable from the Court’s docket.

Consequently, out of an abundance of caution, the Receiver and iBorrow both respond in

opposition to the sale and move this Court to vacate any court approval of the sale or agreed sale

order.

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                                           ANALYSIS

A.     The Receiver and iBorrow Never Received Notice of the Debtor’s Proposed Sale.

       21.     Rule 60 of the Federal Rules of Civil Procedure provides that “[o]n motion and

just terms, the court may relieve a party or its legal representative from a final judgment, order,

or proceeding.” The Court may relieve the party from a final order when “(4) the judgment is

void;… or (6) any other reason [] justifies relief.” Fed R. Civ. P. 60(b).

       22.     In this case, relief is justified under sections (4), and (6) because neither the

Receiver nor iBorrow were given notice of the Debtor’s bankruptcy or the proposed sale.

       23.     “As courts have long recognized, the requirement of ‘[n]otice is the cornerstone

underpinning Bankruptcy Code procedure.’” In re TLFO, LLC, 572 B.R. 391, 431–32 (Bankr.

S.D. Fla. 2016) (citation omitted). Section 363(b) of the Bankruptcy Code requires that a sale of

property of the estate may be held, other than in the ordinary course of business, after “notice

and a hearing.” 11 U.S.C. § 363(b).

       24.     Rule 6004(c) of the Federal Rules of Bankruptcy Procedure requires that “[a]

motion for authority to sell property free and clear of liens or other interests shall be made in

accordance with Rule 9014 and shall be served on the parties who have liens or other interests in

the property to be sold.” Additionally, in its order establishing uniform notice procedures, this

Court ruled that “the Debtor will serve any party whose interests are directly affected by a

specific pleading.” [Doc. 88 ¶ 3.]

       25.     Constitutional due process further requires that the Debtor provide notice to

parties with an interest in the sale. See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306,

314 (1950) (“An elementary and fundamental requirement of due process in any proceeding

which is to be accorded finality is notice reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and afford them an opportunity to present


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their objections.”); In re Fernwood Markets, 73 B.R. 616, 620 (Bankr. E.D. Pa. 1987)

(“[E]lementary principles of due process of law require that it receive notice before it may be

deprived of its interest in the Debtor’s property.”).

       26.     In the present case, the Debtors’ manager and/or majority shareholder

unquestionably knew about the substantial and unexplained transfers from the Oklahoma

Affiliate to the Debtor, the missing furniture, fixtures, and equipment,, and the Oklahoma

Receivership Case.

       27.     Nevertheless, the Debtor never provided the Receiver, iBorrow, or the Oklahoma

Affiliate notice of the sale as required under Section 363(b) of the Bankruptcy Code, Rule

6004(c) of the Federal Rules of Bankruptcy Procedure, and this Court’s uniform notices

procedure. This failure justifies relief under Rule 60(b)(6). In re Birdneck Apartment Assocs.,

II, L.P., 152 B.R. 65, 67 (Bankr. E.D. Va. 1993) (“[D]ebtor’s admitted failure to give notice to

NationsBank’s bankruptcy counsel of the filing of an amended plan and hearing on confirmation

requires the court to vacate the confirmation order under Rule 60(b)(6).”); In re Melvin, No. 89-

60492, 1990 WL 375159, at *3 (Bankr. S.D. Ga. Oct. 18, 1990) (“Mr. Wells was entitled to

notice of the continued confirmation hearing and from the record failed to receive such notice.

Grounds exist for the granting of relief from the final order of confirmation under Federal Rule

60(b)(4) and (6).”); In re Brewer, No. 02-21105, 2004 WL 6043271, at *2 (Bankr. S.D. Ga. Dec.

13, 2004) (“[R]elief under Rule 60(b)(6) is limited to extraordinary circumstances such as when

‘orders were entered with no notice to movant …’” (emphasis added and citation omitted)).

       28.     This failure further violated the due process rights of the Objecting Parties as it

did not provide either with notice of the sale and afford them the opportunity to assert their




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rights, conduct appropriate discovery, and present their objections. 4 Because this sale does not

comport with the requirements of due process, any sale order is void and should be vacated by

this Court. See Fed. R. Civ P. 60(b)(4); In re Braden, 516 B.R. 672, 678–79 (Bankr. S.D. Ga.

2014) (“Rule 60(b)(4) … requires courts to set aside as void, without any discretion, an order

issued in a manner inconsistent with the due process clause of the Fifth Amendment.”); Melvin,

No., 1990 WL 375159, at *3, supra;

B.        Upon Information and Belief, the Sale Motion Impermissibly Implicates the
          Receiver’s and iBorrow’s Property Rights and Should Be Denied.

          29.     In the instant case, the Objecting Parties have reasonable cause to believe that the

Debtor is attempting to sell property that is either (i) not property of the estate under section 541

or (ii) subject to iBorrow’s security interest. Any furniture, fixtures, and equipment purchased

by the Debtor with funds fraudulently transferred by the Oklahoma Affiliate and/or proceeds

from the Access OKC Loan were and continue to be subject to the Receiver’s and iBorrow’s

rights.

          30.     At this time, the Objecting Parties do not have sufficient information to identify

the property in the Debtor’s possession that may be part of the receivership estate and subject to

the interests of the Receiver and iBorrow. The parties need additional time to investigate the

claims and interests and to protect the rights of the Oklahoma Affiliate’s receivership estate and

iBorrow, including moving for a 2004 examination of the Debtor, Tracey Suttles, and/or Access,




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 Additionally, the Receiver and iBorrow note that section 363(m) will not protect Access due to the lack of notice.
See In re Fernwood Markets, 73 B.R. 616, 620 (Bankr. E.D. Pa. 1987) (“§ 363(m) will not, however, protect a party
buying from the trustee in a sale free and clear of liens where no notice is given to the lienholder. Such a purchaser
will be held to have purchased subject to the lien.” (citation omitted)); In re Gunboat Int’l, Ltd., 557 B.R. 410, 421
(Bankr. E.D.N.C. 2016) (holding the section 363(m) does not apply to motions collaterally attacking a sale order
under Rules 59 or 60).




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conducting discovery in the Oklahoma Receivership Case, and potentially moving to appoint a

chapter 11 trustee in the Debtor’s case.

       31.     As discussed hereinabove, the Receiver, the Oklahoma Affiliate, and iBorrow did

not receive notice of the Sale Motion, and as a result, the Sale Motion violates section 363 of the

Bankruptcy Code and should not be, or should not have been, approved.

C.     The Receiver and iBorrow Request an Emergency Hearing to Protect their Property
       during the Stay of the Sale Order and prior to the Closing of the Sale.

       32.     Under Rule 6004(h) of the Bankruptcy Code, “[a]n order authorizing the use, sale,

or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

of the order, unless the court orders otherwise.”

       33.     In the instant case, the closing date of the proposed sale is not clear from the

pleadings and a formal sale order has not been entered. However, if the propriety of the Sale

Order is not addressed prior to closing or the expiration of the Rule 6006 stay, the Objecting

Parties’ interest(s) will be irreparably harmed. The risks to the Objecting Parties is particularly

great here, where the sale is a “cashless” credit bid transaction that may leave no cash or other

assets in the estate post-closing. As such, good cause exists to set an expedited hearing on these

matters immediately.

                                 RESERVATION OF RIGHTS

       34.     The Objecting Parties file this Response and Motion to Reconsider without

limitation or waiver of any rights, remedies, claims, and defenses related to the Collateral, the

pre-petition transfers to the Debtor, or the Oklahoma Receivership Case. The Objecting Parties

further reserve the right to supplement or amend their Objection and Motion to Reconsider and

make any additional arguments at an expedited hearing on this matter, to seek a stay of and

appeal any sale order, and to file any additional necessary motions, discovery, or pleadings.



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       WHEREFORE, the Objecting Parties respectfully request that this Court enter an order

(i) denying approval of the Sale Motion, or, in the alternative vacating the Sale Order; (ii)

scheduling an emergency hearing on this Response and Motion to Reconsider; and (iii) and

granting any other and further relief as this Court deems necessary and just.

                                             Respectfully submitted,


                                              /s/ Jay R. Bender
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of December, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record, including without limitation the following:

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                                          Of Counsel




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                                EXHIBIT A




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